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EXHIBIT A

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTR_ICT OF TEXAS

 

I-IOUSTON DIVISION
)
PEOPLE FOR THE ETHICAL TREATMENT ) _ _ _
OF ANIMALS’ INC_, § Clvll Action No. 4:18-cv-01547
. . )
Plamtlff’ ) Hon. Judge Hughes
v. g
MICHAEL K. YOUNG, in his official capacity §
as President of Texas A&M University, )
)
Defendant. §
)

 

H.,AINTIFF’S INTERROGATORIES TO DEFENDAN'I`
Pursuant to Federal Rules of Civil Procedure 26 and 33, the Local Rules of the United States Court
for the Southern District of Texas, and any applicable Orders of this Coui't, Plaintiff, by its
undersigned attorneys, requests that Defendant Michael K. Young, in his official capacity as
President of Texas A&M University, respond to the following interrogatories separately and fully,
in writing Within (30) days from the date of service, and in accordance With the instructions and
definitions set below.
DEFINITIONS

1. “All” means any and all, and shall be construed to include the term “each,” and
“each” shall be construed to include the term “all.”

2. “Date” shall mean the exact day, month and year, if ascertainable, or if not, the best
approximation thereof.

3. “Including” means including without limitation.

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4. “Reflects,” “refers,” relates,” “regards,” and their cognates mean directly or
indirectly comprising, mentioning, concerning, constituting, identifying, discussing or describing,
pertaining to, or being connected with, a stated subject matter.

5. “Defendant” refers to Michael K. Young, in his official capacity as President of
Texas A&M University, and any of his successors, predecessors, alternative or subsequent names,
and/or any of his respective employees, agents, and representatives and/or all other persons over
Whom he exercises control as contemplated by the rules and guidelines governing discovery in this
action.

6. “You” or “Your” refers to Defendant.

7. “A&M” or “Texas A&M” refers to Texas A&M University as an institution and
any employees, agents, or representatives of the Defendant Who are responsible for carrying out
the Defendant’s challenged policies and practices With respect to moderating and removing content
from online or other forums.

8. “Facebook Page,” “A&M Facebook Page,” or “Page” refer to the website created
and operated by A&M on the Facebook social media platform. The Page can be accessed at
https://www.facebook.com/tamu/.

9. “Page settings” or “settings” refer to administrative controls given by Facebook,
Inc. to A&M that allow A&M, among other things, to set constraints on who may access the A&M
Facebook Page, Who may interact With the A&M Facebook Page, Who may post content on the
A&M Facebook Page, Whether or not A&M must approve content before it is posted on the A&M
Facebook Page, and What content is automatically blocked from the A&M Facebook Page.

10. “Automatic filter” or “filter” refers to a specific Facebook Page setting that enables

A&M to identify specific Words that are not allowed on the A&M Facebook Page, resulting in

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A&M using this Facebook setting to automatically remove posts or comments that contain one of
the blocked Words.

ll. “Content” refers to visitor posts, comments, or any other way in which individuals
may communicate on the A&M Facebook Page to A&M or to other individuals Who are able to
access the Page.

12. “Visitor posts” refer to stand-alone content viewable on the Texas A&M Facebook
page under the “Posts” subsection. Visitor posts are content created by students, alumni, or other
visitors to the Page, and are different from the A&M created posts that appear on the A&M
Facebook “Hcme” Page.

13. “Comments” refer to content in the spaces underneath and attached to stand-alone
posts, Where individuals may respond to both A&M posts as well as visitor posts on the A&M
Facebook Page.

14. “Moderation” refers to any attempt to control the content or speakers on the A&M
Facebook page.

15. “PETA” refers to Plaintiff, People for the Ethical Treatment of Animals, lnc.

16. “Dog lab” refers to the research project at Texas A&M University that studies
canine muscular dystrophy.

17. The capitalization of certain terms in these Definitions is not intended to be limiting
in any Way. Unless indicated otherwise, should a term appear in lowercase, that term should be
given the same definition as described herein for its equivalent in uppercase, and vice versa.

18. “The” shall not be construed as limiting any topic herein.

19. The connectives “and” and “or” shall be construed either disjunctiver or

conjunctively, whichever makes the meaning most inclusive.

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20. The singular form of a noun or pronoun shall be considered to include within its
meaning the plural form of the noun or pronoun so used, and vice versa; and the use of any tense
of any verb includes also within its meaning all other tenses of the verb so used.

INSTRUC'I`IONS

l. Unless otherwise specified, these interrogatories are limited to the time period from
January 1, 2016, to and including the date of service of these interrogatories

2. Where knowledge, information, or documents are requested, such request
encompasses knowledge, information, or documents in your possession, custody or control, or in
the possession, custody or control of your staff, agents, employees, representatives and, unless
privileged, attorneys, or any other person who has possession, custody, or control of your
proprietary knowledge, information, or documents

3. Pursuant to Fed. R. Civ. P. 26(e), you are under a duty seasonably to amend any
answer to these interrogatories for which you learn that the answer is in some material respect
incomplete or incorrect and if the additional or corrective information has not otherwise been made
known to us during the discovery process or in writing.

4. For any interrogatory or part of an interrogatory which you refuse to answer under
a claim of privilege, submit a sworn or certified statement from your counsel or one of your
employees in which you identify the nature of the information withheld; specify the grounds of
the claimed privilege and the paragraph of these interrogatories to which the information is
responsive; and identify each person to Whom the information, or any part thereof, has been
disclosed.

5. Answer each interrogatory fully. If you object to any interrogatory, state the reasons

for objection and answer to the extent the interrogatory is not objectionable If you are unable to

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answer an interrogatory fully, submit as much information as is available, explain why your answer
is incomplete, and identify or describe all other sources of more complete or accurate information

6. If, in responding to any of the following Interrogatories, you claim any ambiguity
in interpreting the Interrogatory, or a definition or instruction applicable thereto, you shall not use
such claim as a basis for refusing to answer, but instead shall set forth as part of your response the
language deemed to be ambiguous and the interpretation chosen or used by you in answering the
Interrogatory.

MW
INTERROGATORY No. 1

Identify and describe the process for editing, updating, or otherwise changing the page
settings on the A&M Facebook Page.
INTERROGATORY NO. g

Identify and describe A&M’s chosen page settings for the A&M Facebook page and the
rationale for each chosen setting.
INTERROGATORY NO. 3

State the number of persons who visited the A&M Facebook page in the most recent year
for Which A&M has a full-year of data.
INTERROGATORY NO. 4

State the number of visitor posts on the A&M Facebook page.
INTERROGATORY NO. 5

State the number of visitor comments on the A&M Facebook page, and the range of the
number of comments per post.
INTERROGATORY NO. 6

Identify and describe A&M’s history and frequency of monitoring and/or moderation on

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the A&M Facebook Page.
INTERROGATORY NO. 7

Identify and describe the process used by A&M for determining what words should be
added to the Facebook automatic filter.
INTERROGATORY NO. 8

Identify and describe the specific instances where A&M decided to moderate, remove, or
prevent the placement of content on the A&M Facebook Page through Facebook’s automatic
filter settings.
INTERROGATORY NO. 9

Identify and describe the specific instances Where A&M decided to add the name of a
speaker or organization to Facebook’s automatic filter settings
INTERROGATORY NO. 10

Identify and describe the process used by A&M for manually removing content from the
A&M Facebook Page.
INTERROGATORY NO. 11

Identify and describe the specific instances that A&M has manually removed content
from the Page.
INTERROGATORY NO. 1§

Identify and describe all facts regarding whether content posted on A&M’s Facebook
page by PETA or PETA supporters might impede the ability of A&.M to use the page to make
information available to the public, or impede the ability of students or members of the public to

use the page to post their own content or access non-PETA content. This request includes:

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a) the numbers of comments and visitor posts placed on A&M’s Facebook page by PETA or
PETA supporters
b) the type of A&M Facebook Posts that PETA and PETA supporters were commenting on,
and
c) whether any students, alumni, or other non-staff members of the A&M community
complained about any posts on the A&M page from PETA or PETA supporters, and if
so, the date of the complaint, the identity of the complainant, and the substance of the
complaint.
INTERROGATORY NO. 13
Identify and describe A&M’s response to PETA’s campaign against the dog labs at
A&M, including actions taken by A&M to limit PETA’s and PETA supporters’ ability to speak
on campus, at A&M events, or in online spaces or social media managed or controlled by A&M.
INTERROGATORY NO. 14
Identify and describe all of the A&M interests that are purportedly served by the
inclusion of “PETA," “lab,” “abuse,” and other PETA campaign-related words in the Facebook
automatic filter, and by manually removing PETA and anti-dog lab-related content from the
A&M Facebook Page.
INTERROGATORY NO. 15
For each of the A&M interests identified in response to Interrogatory No. 14, identify and
describe how A&M’s inclusion of the foregoing words in its automatic filter, and its manual

removal of PETA and anti-lab content from the page, purportedly advance those interests

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INTERROGATORY NO. 16

Identify the A&M employees officers, or agents most knowledgeable about the subjects

raised in the foregoing interrogatories For each such person, identify their name, their job title,

and the subjects regarding which they are most knowledgeable

DATED: September 28, 2018

/s/David Greene

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